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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF VIRGINIA


                             Alexandria Division



  UNITED STATES OF AMERICA
  ex rel. RIBIK,

              Plaintiffs,


  V.                                   Civil Action No. 01:09-CV-00013


  HCR MANORCARE, INC., et ai..


              Defendants.


                                     ORDER



        This matter comes before the Court on Plaintiff's (1)

  Motion in Limine to Exclude Testimony of Dr. Arnold Barnett, (2)

  Motion in Limine to Exclude Testimony of John Steams, (3)

  Motion in Limine to Exclude the Testimony of Dr. Bruce Robinson,

  (4) Motion in Limine to Exclude Testimony of ManorCare Employee

  Experts, (5) Motion in Limine to Exclude Testimony of Dr.

  Jennifer Lape, (6) Motion in Limine to Exclude Testimony of Dr.

  Jennifer Bottomley, and a (7) Motion in Limine to Exclude

  ManorCare's Expert Renee B. Kinder.

        Defendant also brings before the Court a (l)Motion in

  Limine to Exclude the Report and Testimony of John N. Morris,

  Ph.D. and Brant E. Fries, Ph.D., (2) a Motion in Limine to

  Exclude the Reports and Testimony of Marna Bogan and Donald
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